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 OTTERBOURG P.C.
 230 Park Avenue
 New York, NY 10169
 (212) 905-3677
 Melanie L. Cyganowski, Esq.

 Counsel to Navillus Tile, Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------------------
                                                                   x
                                                                   :
 In re:                                                            : Chapter 11
                                                                   :
 NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
 CONTRACTING                                                       :
                                                                   :
                             Debtor.                               :
                                                                   :
-------------------------------------------------------------------------------
                                                                   x

                EX PARTE MOTION FOR ENTRY OF AN ORDER PURSUANT
                TO BANKRUPTCY RULE 2004 AUTHORIZING ISSUANCE OF
              SUBPOENA TO HUNTER ROBERTS CONSTRUCTION GROUP, LLC

             Navillus Tile, Inc. d/b/a Navillus Contracting, the above-captioned debtor and debtor-in-

 possession (“Navillus” or the “Debtor”), by and through its undersigned counsel Otterbourg P.C.,

 hereby submits this ex parte motion (the “Motion”), pursuant to Rules 2004 and 9016 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2004-1 and 9077-

 1(b) of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”),

 for entry of an order authorizing the Debtor to issue a subpoena for the production of a certain

 documents or communications in the possession of Hunter Roberts Construction Group, LLC

 (“Hunter Roberts”) as set forth more fully herein. In support of this Motion, the Debtor

 respectfully states as follows:




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                                  JURISDICTION AND VENUE

            1.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2).

            2.    The statutory predicates for the relief sought herein are Bankruptcy Rules 2004

and 9016 and Local Rules 2004-1 and 9077-1(b).

                                          BACKGROUND

A.          General Background

            3.    On November 8, 2017 (the “Petition Date”), Navillus filed a voluntary petition for

relief pursuant to chapter 11 of the Bankruptcy Code.

            4.    Navillus has remained in possession of its property and continues in the operation

and management of its business as a debtor-in-possession pursuant to sections 1107 and 1108 of

the Bankruptcy Code.

            5.    On November 28, 2017, the United States Trustee appointed an official

committee of unsecured creditors in this case.

            6.    On the Petition Date, Navillus filed the Affidavit of Donal O’Sullivan pursuant

to Local Rule 1007-2 (the “First Day Affidavit” at Dkt. No. 7). A detailed factual background

of Navillus’ business and operations, as well as the events leading to the filing of this chapter

11 case, is more fully set forth in the First Day Affidavit.

B.          Hunter Roberts Projects

            7.    Prior to the Petition Date, Navillus and Hunter Roberts entered into various

contracts (the “Contracts”) regarding Navillus’ services as a subcontractor on the following

projects: (1) the Manhattan West Southwest Residential Tower (the “Manhattan West Project”);

(2) Pier 57 at 29 11th Avenue, New York, NY (the “Pier 57 Project”); (3) JP Morgan Chase, One

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Chase Manhattan Plaza (the “JP Morgan Project”); and (4) the Mikkeller Microbrewery at

Citifield (the “Citifield Project,” together with the Manhattan West Project, the Pier 57 Project,

and the JP Morgan Project, the “Hunter Roberts Projects”).

            8.     On February 13, 2018, Hunter Roberts filed a proof of claim (the “Claim”) for the

total amount of $1,282,804.54 on account of various back-charges related to the Manhattan West

Project (the “Manhattan West Back-Charge Claim”), as well as for certain unliquidated claims

related to the Pier 57 Project, the JP Morgan Project, and the Citifield Project (the “Unliquidated

Claims”).

                                          RELIEF REQUESTED

            9.     Navillus requests authority under Bankruptcy Rule 2004 to issue a subpoena (the

“Subpoena”) and document request (the “Document Request”), substantially in the form annexed

hereto as Exhibit “A”, for the production of certain documents or communications in Hunter

Roberts’ possession that would substantiate each component of the Claim. Navillus submits that

the issuance of an ex parte order, substantially in the form annexed hereto as Exhibit “B”, is

appropriate in this case for the reasons set forth herein.

                                  BASIS FOR RELIEF REQUESTED

            10.    Bankruptcy Rule 2004 provides that “[o]n motion of any party in interest, the

court may order the examination of any entity” as well as the production of documents by such

entity. See FED. R. BANKR. P. 2004(a). Bankruptcy Rule 2004(b) sets forth the permissible scope

of an examination, stating in relevant part as follows:

            The examination of an entity under this rule . . . may relate only to the acts,
            conduct, or property or to the liabilities and financial condition of the debtor, or to
            any matter which may affect the administration of the debtor’s estate . . .

See FED. R. BANKR. P. 2004(b).



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In addition, in a chapter 11 reorganization:

            [T]he examination may also relate to the operation of any business and the
            desirability of its continuance, the source of any money or property acquired or to
            be acquired by the debtor for purposes of consummating a plan and the
            consideration given or offered therefor, and any other matter relevant to the case
            or to the formulation of a plan.

See FED. R. BANKR. P. 2004(b).

            11.    It is well settled that the scope of a Rule 2004 examination is “broad and

unfettered and in the nature of a fishing expedition”, as the language of the rule indicates. See In

re Enron Corp., 281 B.R. 836, 840 (Bankr. S.D.N.Y. 2002). Indeed, it is far broader than the

scope of discovery under Rule 26 of the Federal Rules of Civil Procedure. See, e.g., In re Drexel

Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y. 1991).

            12.    Rule 2004 examinations may be used by a party to evaluate the existence and

availability of assets of the estate. See, e.g., In re Ionosphere Clubs, Inc., 156 B.R. 414, 432

(S.D.N.Y. 1993), aff’d 17 F.3d 600 (2d Cir. 1994); In re Almatis B.V., 2010 Bankr. LEXIS 4243,

at *10 (Bankr. S.D.N.Y. Nov. 24, 2010) (“The purpose of a Rule 2004 examination is to assist a

party in interest in determining the nature and extent of the bankruptcy estate, revealing assets,

examining transactions and assessing whether wrongdoing has occurred”); In re Coffee

Cupboard, Inc., 128 B.R. 509, 514 (Bankr. E.D.N.Y. 1991) (“The purpose of a Rule 2004

examination is ‘to show the condition of the estate and to enable the Court to discover its extent

and whereabouts, and to come into possession of it, that the rights of the creditor may be

preserved’”).

            13.    Bankruptcy courts are required to make a finding of good cause for the

examination in approving a request for a Rule 2004 examination. See Coffee Cupboard, 128 B.R.

at 514. Good cause has been held to be shown where “the examination sought ‘is necessary to



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establish the claim of the party seeking the examination, or if denial of such request would cause

the examiner undue hardship or injustice.’” In re Madison Williams and Company, LLC, 2014

Bankr. LEXIS 50, at *10 (Bankr. S.D.N.Y. Jan. 7, 2014) (internal citations omitted); In re MF

Global Inc., 2013 Bankr. LEXIS 129, at *3 (Bankr. S.D.N.Y. Jan. 8, 2013) (same). In evaluating

a request for a Rule 2004 examination, bankruptcy courts “balance the compelling interests of

the parties, weighing the relevance of and necessity of the information sought by examination”.

Coffee Cupboard, 128 B.R. at 514; Madison Williams, 2014 Bankr. LEXIS 50, at *11.

            14.   Navillus submits that it has good cause to compel Hunter Roberts to produce any

documents or communications to substantiate each component of the Claim, and seeks such

relief on an ex parte basis. Navillus is unaware of any parties other than Hunter Roberts that have

copies of such documents or familiarity with the contents therein, and the production of any such

documents or communications by Hunter Roberts would not be unduly burdensome. Thus, ex

parte relief is warranted under the circumstances.

            15.   As Navillus prepares to file its chapter 11 plan in the coming weeks, it is

evaluating claims in connection with the assumption of its contracts. Navillus must evaluate

potential back-charges and setoffs under such contracts against receivables on its open

construction projects in connection with projecting cash flow and the availability of funds to

make plan payments. Therefore, Navillus must review and assess the various components of the

Claim to determine what amounts, if any, of the Manhattan West Back-Charge Claim and the

Unliquidated Claims identified in the Claim are valid. Accordingly, Navillus requires any

documents or communications in Hunter Roberts’ possession that would substantiate each

component of the Claim. Because such documents or communications relate to “the source of

any money or property acquired or to be acquired by the debtor for purposes of consummating a



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plan” and “any other matter relevant to . . . the formulation of a plan,” as set forth in Bankruptcy

Rule 2004(b), Navillus submits that Hunter Roberts should be compelled to produce any such

documents or communications.

                                             NOTICE

            16.   Notice of this Motion has been given in accordance with the Order Establishing

Notice Procedures and a Master Service List [Dkt. No. 83]. Navillus submits that, under the

circumstances, no other or further notice is required.

            17.   No prior request has been made to this or any other Court for the relief sought

herein.

                                          CONCLUSION

            18.   Based on the foregoing, Navillus requests that the Court enter an ex parte order

authorizing Navillus to issue the Subpoena to Hunter Roberts for the production of the

documents or communications requested herein.

            WHEREFORE, Navillus requests that the Court grant the Motion and enter an order,

substantially in the form annexed hereto as Exhibit “B”, (a) authorizing Navillus to issue the

Subpoena and Document Request, substantially in the form annexed hereto as Exhibit “A”, for

the production the documents or communications requested herein by Hunter Roberts, and (b)

granting such other and further relief as may be just and proper under the circumstances.




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Dated: New York, New York
       May 25, 2018


                                                 OTTERBOURG P.C.


                                                 By: s/ Melanie L. Cyganowski
                                                 Melanie L. Cyganowski, Esq.
                                                 230 Park Avenue
                                                 New York, NY 10169
                                                 (212) 905-3677

                                                 Counsel to Navillus Tile, Inc.




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                                     EXHIBIT “A”




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                                UNITED STATES BANKRUPTCY COURT
_______________________________________ District of ___________________________________________

      Navillus Tile, Inc., d/b/a Navillus Contracting
In re __________________________________________                                   17-13162
                                                                          Case No. _____________________
                               Debtor
                                                                                    11
                                                                          Chapter ______________


                                       SUBPOENA FOR RULE 2004 EXAMINATION

To: ________________________________________________________________________________________
     Hunter Roberts Construction Group, LLC, 55 Water Street, 51st Floor, New York, NY 10041
                                         (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                    DATE AND TIME




The examination will be recorded by this method: ___________________________________________________________

x Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


 See Exhibit A, annexed hereto.


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.
       May 16, 2018
Date: _____________
                              CLERK OF COURT

                                                                         OR
                              ________________________                        ________________________
                              Signature of Clerk or Deputy Clerk                  Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party)
Navillus Tile, Inc.
____________________________ , who issues or requests this subpoena, are:

Melanie Cyganowski, Esq., Otterbourg P.C., 230 Park Ave., New York, NY 10169, mcyganowski@otterbourg.com; (212) 905-3677

                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                         PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


         I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                       ________________________________________________
                                                                                           Server’s signature

                                                                       ________________________________________________
                                                                                         Printed name and title


                                                                       ________________________________________________
                                                                                           Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                    EXHIBIT A




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                                           DOCUMENT REQUEST

Hunter Roberts Construction Group, LLC is requested to produce the following documents for
inspection and copying at the offices of Otterbourg P.C., 230 Park Avenue, New York, NY
10169:

    I.           INSTRUCTIONS

            1.     Each of these requests for production of documents shall be deemed to be a

request for all such documents, whether prepared by or for you by any other party or any other

person, which documents are in your possession, custody or control or in the possession, custody

or control of your attorneys, accountants, consultants, employees, agents, or anyone acting on

your behalf.

            2.     As to any document you are withholding from production on the basis of a

privilege, you are to provide the following information to specifically identify the document:

                   (i)     title or description,

                   (ii)    date,

                   (iii)   author,

                   (iv)    recipient(s),

                   (v)     number of pages,

                   (vi)    subject matter, and

                   (vii)   the specific grounds for withholding the document.

            3.     You are required to produce documents as they are kept in the usual course of

business or to organize and label them to correspond to the categories in this request.

Documents should be produced in their native format.

            4.     You are required to produce complete documents, including all drafts of any such

documents.



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            5.     Any comments, notes, or signatures appearing on any documents, and not a part

of the original, are to be considered a separate document, and any draft, preliminary form, or

superseded version of any document is also to be considered a separate document, which you are

also required to produce.

            6.     If any of the requested documents cannot be produced in full, you are to produce

said documents to the extent possible, specifying your reasons for your inability to produce the

remainder and stating what information, knowledge, or belief you have concerning the

unproduced portion.

            7.     Unless otherwise stated, the time period applicable to this set of document

requests is from March 15, 2013 to the present.

    II.          DEFINITIONS

            A.     All/Any/Each. The terms “all”, “any” and “each” shall each be construed as

encompassing any and all.

            B.     And/Or. The connectives “and” and “or” shall be construed either disjunctively

or conjunctively as necessary to make the request inclusive rather than exclusive, and bring

within the scope of the discovery request all responses that might otherwise be construed to be

outside of its scope.

            C.     Communication. The term “communication” means the transmittal of information

(in the form of facts, ideas, inquiries or otherwise).

            D.     Document. The term “document” is defined to be synonymous in meaning and

equal in scope to the usage of the term “documents or electronically stored information” in Fed.

R. Bankr. P. 2004 and Fed. R. Civ. P. 34(a)(1)(A). A draft or non-identical copy is a separate

document within the meaning of this term.



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            E.   Including. The term “including” means “including but not limited to.”

            F.   Item. The term “item” means any physical thing.

            G.   Number. The use of the singular form of any word includes the plural and vice

versa.

            H.   Person. The term “person” is defined as any natural person or business, legal or

governmental entity or association.

            I.   Hunter Roberts. The term “Hunter Roberts” shall mean Hunter Roberts

Construction Group, LLC.

            J.   Claim. The term “Claim” shall mean the proof of claim filed by Hunter Roberts

on February 13, 2018 for the total amount of $1,282,804.54 on account of various back-charges

related to the Manhattan West Project, as well as for unliquidated claims related to the Pier 57

Project, the JP Morgan Project, and the Citifield Project.

            K.   Parties. The terms “Navillus” and “Hunter Roberts” as well as a party’s full or

abbreviated name or a pronoun referring to a party mean the party and, where applicable, its

officers, directors, employees, partners, corporate parent, subsidiaries or affiliates.

            L.   Concerning. The term “concerning” means relating to, referring to, describing,

evidencing or constituting.

            M.   Writings. The term “writings” shall include any handwriting, typewriting,

printing, photostatting, photographing, and every other means of recording upon any tangible

thing, and form of communicational representation, including letters, words, pictures, sounds, or

symbols, or combinations thereof.

            N.   Contracts. The term “Contracts” shall mean those certain contracts entered into

by Hunter Roberts and Navillus regarding Navillus’ services as a subcontractor on the following



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projects: (1) the Manhattan West Project; (2) the Pier 57 Project; (3) the JP Morgan Project; and

(4) the Citifield Project.

            O.     Projects. The term “Projects” shall mean the construction of the projects more

commonly known as (1) the Manhattan West Project; (2) the Pier 57 Project; (3) the JP Morgan

Project; and (4) the Citifield Project, together with all work incidental thereto.

    III.         DOCUMENT REQUESTS

            1.     Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an amount not less than $1,282,804.54 on account of the

Manhattan West Back-Charge Claim as set forth in the Attachment to the Proof of Claim.

            2.     Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the MW Performance

Claim as set forth in the Attachment to the Proof of Claim.

            3.     Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the MW Payment Claim

as set forth in the Attachment to the Proof of Claim.

            4.     Any and all documents and/or communications substantiating the back-charge

claim in connection with the Manhattan West Project regarding “Sonoflow in Tubs in 26Q and

57J” in the amount of $19,362.81.

            5.     Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the P57 Performance

Claim as set forth in the Attachment to the Proof of Claim.




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            6.    Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the P57 Payment Claim as

set forth in the Attachment to the Proof of Claim.

            7.    Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the JP Morgan

Performance Claim as set forth in the Attachment to the Proof of Claim.

            8.    Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the JP Morgan Payment

Claim as set forth in the Attachment to the Proof of Claim.

            9.    Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the Citifield Performance

Claim as set forth in the Attachment to the Proof of Claim.

            10.   Any and all documents and/or communications substantiating the component of

the Claim that seeks recovery of an undisclosed amount on account of the Citifield Payment

Claim as set forth in the Attachment to the Proof of Claim.




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                                    EXHIBIT “B”




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------------------
                                                                   x
                                                                   :
 In re:                                                            : Chapter 11
                                                                   :
 NAVILLUS TILE, INC., DBA NAVILLUS                                 : Case No. 17-13162 (SHL)
 CONTRACTING                                                       :
                                                                   :
                             Debtor.                               :
                                                                   :
-------------------------------------------------------------------------------
                                                                   x

    EX PARTE ORDER PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING
  ISSUANCE OF SUBPOENA TO HUNTER ROBERTS CONSTRUCTION GROUP, LLC

             Upon the ex parte motion (the “Motion”)1 of Navillus Tile, Inc. d/b/a Navillus Contracting,

 the above-captioned debtor and debtor-in-possession (“Navillus” or the “Debtor”), by and through

 its attorneys Otterbourg P.C., pursuant to Rules 2004 and 9016 of the Federal Rules of Bankruptcy

 Procedure and Rules 2004-1 and 9077-1(b) of the Local Bankruptcy Rules for the Southern District

 of New York, for entry of an ex parte order authorizing Navillus to issue a subpoena (the

 “Subpoena”) for the production of certain documents or communications by Hunter Roberts

 Construction Group, LLC (“Hunter Roberts”), as set forth more fully in the Motion; and the Court

 being satisfied that the relief sought in the Motion is appropriate under the circumstances; and good

 and sufficient cause appearing for the entry of this Order; it is hereby

             ORDERED, that the relief requested in the Motion is granted; and it is further

             ORDERED, that Navillus is hereby authorized to serve a copy of this Order, together

 with the Subpoena, on Hunter Roberts at 55 Water Street, 51st Floor, New York, NY 10041 via

 overnight mail within three (3) days of entry of this Order; and it is further

             ORDERED, that Hunter Roberts shall produce the documents or communications as set

 forth in the Subpoena to counsel to Navillus, Otterbourg P.C., 230 Park Avenue, New York, NY




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10169, Attention: Melanie L. Cyganowski, Esq., within twenty one (21) days of service of the

Subpoena; and

            ORDERED, that the Court shall retain jurisdiction to hear and determine any dispute

arising out of this Order.



Dated: May ____, 2018
       New York, New York                                 _______________________________________
                                                          THE HONORABLE SEAN H. LANE
                                                          UNITED STATES BANKRUPTCY JUDGE




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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